Case 2:19-cv-14025-JEM Document 18 Entered on FLSD Docket 01/03/2020 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA

                                           )
  TAMMY ALBRITTON,                         )
                                           ) Case No.: 2:19-cv-14025-JEM
               Plaintiff.                  )
                                           )
        v.                                 )
                                           )
  MIDLAND CREDIT                           )
  MANAGEMENT, INC.,                        )
                                           )
                  Defendant.               )

                            NOTICE OF SETTLEMENT

  TO THE CLERK:

  NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have

  reached settlement. The parties anticipate filing a stipulation of dismissal of this

  action with prejudice pursuant to Fed. R. Civ. P. 41 (a) within sixty (60) days.



  Dated: January 3, 2020                 By: /s/ Amy L. B. Ginsburg
                                           Amy L. B. Ginsburg, Esquire
                                           Kimmel & Silverman, P.C.
                                           30 E. Butler Pike
                                           Ambler, PA 19002
                                           Phone: (215) 540-8888
                                           Fax: (877) 788-2864
                                           Email: aginsburg@creditlaw.com
Case 2:19-cv-14025-JEM Document 18 Entered on FLSD Docket 01/03/2020 Page 2 of 2




                           CERTIFICATE OF SERVICE

              I, Amy L. B. Ginsburg, Esquire, do certify that I served a true and

  correct copy of the Notice of Settlement in the above-captioned matter, upon the

  following via CM/ECF system:

                               Cory W. Eichhorn, Esquire
                                 Holland & Knight, LLP
                             701 Brickell Avenue, Suite 3300
                                    Miami, FL 33131
                             cory.eichhorn@hklaw.com.com
                                 Attorney for Defendant




  Dated: January 3, 2020               By: /s/ Amy L. B. Ginsburg
                                         Amy L. B. Ginsburg, Esquire
                                         Kimmel & Silverman, P.C.
                                         30 E. Butler Pike
                                         Ambler, PA 19002
                                         Phone: (215) 540-8888
                                         Fax: (877) 788-2864
                                         Email: aginsburg@creditlaw.com
